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                         IN THE UNTIED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION

ROBERT (BOB) ROSS;                                §
                                                  §
                    Plaintiff,                    §
                                                  §
v.                                                §     CIVIL ACTION NO. 4:22-CV-00343
                                                  §
ASSOCIATION OF PROFESSIONAL                       §
FLIGHT ATTENDANTS,                                §
MCGAUGHEY, REBER AND                              §
ASSOCIATES, INC. JULIE                            §
HENDRICK AND ERIK HARRIS,                         §
DEFENDANTS                                        §



      DEFENDANT’S MOTION FOR EXTENSION OF TIME TO FILE ORIGINAL
                              ANSWER

        COMES NOW Defendant, McGaughey, Reber and Associates, Inc., by and through

counsel, Michael R. Rake, and moves this Court to allow Defendant McGaughey, Reber and

Associates more time to respond to Plaintiff’s Original Complaint, and in support of said motion,

state as follows:

        1.     Plaintiff’s Original Complaint was served on the Texas Secretary of State’s office,

               and not on M. S. McGaughey, the agent for service of process for the Entity as

               alleged in the Affidavit of Service. The service was executed at the address for the

               Secretary of State, and no attempt, to Defendant’s knowledge was ever made to

               serve Mr. McGaughey at his address;

        2.     Defendant, McGaughey, Reber and Associates, Inc. nor its agent has received a

               copy of the citation from the Secretary of State.

        3.     Defendant was first aware of the service when another Defendant’s attorney
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               forwarded the Affidavit of Service by e-mail to the undersigned Attorney.

       4.      This Defendant requests a 30 day extension, or a lessor time, should the Court

               chose, to file an Answer.

       5.      Defendant’s Attorney attempted to contact Plaintiff’s Attorney, by phone and e-

               mail to discuss this Motion, but has received no response at this time.

       Defendant prays that the Court grant this Motion for extension of time.

                                             Respectfully submitted,

                                             /S/ Michael R. Rake
                                            Michael R. Rake, Attorney at Law
                                            SB # 16487600
                                            P.O. Box 1556
                                            Lake Dallas, TX 75065
                                            Tel. & Fax: 940-498-2103
                                            E-mail: mrake1@mrakeattorney.com

                                            ATTORNEY FOR DEFENDANT,
                                            MCGAUGHEY, REBER AND ASSOCIATES, INC.

                                      Certificate of Service

       This certifies that this document was served in accordance with the Federal Rules of Civil

Procedure on May 27, 2022.

                                             /S/ Michael R. Rake

                                             Michael Rake

                                   Certificate of Conference

       This certifies that Defendant’s Attorney attempted a conference with Plaintiff’s Attorney

of record but was not successful in reaching, Plaintiff’s Attorney via phone or e-mail.

                                             /S/ Michael R. Rake

                                             Michael R. Rake

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